       Case 1:19-cv-00994-JB-JHR Document 148 Filed 07/15/21 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

KRISTINA MARTINEZ, in her Capacity as
the Personal Representative of the Wrongful
Death Estate of Barbara Granger, and
SCOTT GRANGER,

               Plaintiffs,

vs.                                                                     No. CIV 19-0994 JB/JHR

DART TRANS, INC., GILBERT TAN d/b/a
GMT TRUCKING, SUNRISE TIRE AND
LUBE SERVICE, INC., HAR-SUKH CORP.,
INC., SAM SANDHU, JASVIR SINGH,
RAJINDER SINGH BASSI, SUKHDEV
SINGH DHALIWAL, TERI-OAT, LLC,
JOHN DOE 1, JOHN DOE 2, GOODWILL
TRUCKING, LLC and GURPREET SUCH,

               Defendants.

                                     FINAL JUDGMENT

       THIS MATTER comes before the Court on: (i) the Order Granting Unopposed Motion to

Dismiss without Prejudice All Claims Against Har-Sukh Corp., Inc., Rajinder Singh Bassi, and

Terri-Oat, LLC, filed April 2, 2020 (Doc. 47)(“April 2 Order”); (ii) the Order Granting Unopposed

Motion to Dismiss Sam Sandhu and Jasvir Singh, filed September 9, 2020 (Doc. 87)(“Sept. 9

Order”); (iii) the Stipulated Order of Partial Dismissal with Prejudice, filed March 23, 2021 (Doc.

108)(“March 23 Order”); and (iv) a jury trial that the Court held on July 6 and 7 of 2021, see

Clerk’s Minutes at 1, filed July 13, 2021 (Doc. 145). In the April 2 Order, the Court dismisses

without prejudice all claims against Defendants Har-Sukh Corp., Inc., Rajinder Singh Bassi, and

Terri-Oat, LLC. See April 2 Order at 1. In the September 9 Order, the Court dismisses all claims

against Defendants Sam Sandhu and Jasvir Singh without prejudice. See Sept. 9 Order at 1. In
       Case 1:19-cv-00994-JB-JHR Document 148 Filed 07/15/21 Page 2 of 4




the March 23 Order, the Court dismisses with prejudice the claims against Defendants Dart Trans,

Inc., Gilbert Tan, Goodwill Trucking, LLC, and Gurpreet Such. See March 23 Order at 1-2. At

the jury trial, the jury returned a verdict for Plaintiff Kristina Martinez against Defendants Sunrise

Tire and Lube Service, Inc. and Sukhdev Singh a/k/a Sukhdev Singh Dhaliwal a/k/a Sukhdev

Dhaliwal Singh (“S. Singh”) in the amount of $10,000,000.00 in compensatory damages, for

Plaintiff Scott Granger against Sunrise Tire and S. Singh in the amount of $7,000,000.00 in

compensatory damages, and for the Plaintiffs in the amount of $10,000,000.00 in punitive damages

against Sunrise Tire. See Verdict Form at 1-2, filed July 7, 2021 (Doc. 143). There not being any

more claims, issues, or parties before the Court, the Court enters Final Judgment adjudicating all

of the claims and liabilities among the parties.

       IT IS ORDERED that: (i) all Plaintiffs Kristina Martinez’ and Scott Granger’s claims

against Defendants Dart Trans, Inc., Gilbert Tan d/b/a GMT Trucking, Goodwill Trucking, LLC,

and Gurpreet Such, Sunrise Tire and Lube Service, Inc., and Sukhdev Singh a/k/a/ Sukhdev Singh

Dhaliwal a/k/a Sukhdev Dhaliwal Singh (“S. Singh”), and are dismissed with prejudice; (ii) all

Plaintiffs’ claims against Defendants Har-Sukh Corp., Inc., Rajinder Singh Bassi, Terri-Oat, LLC,

Sam Sandhu, and Jasvir Singh are dismissed without prejudice; (iii) this case is dismissed;

(iv) judgment is entered in favor of Martinez against Sunrise Tire and Singh for $10,000,000.00

in compensatory damages; (v) judgment is entered in favor of Granger against Sunrise Tire and

S. Singh for $7,000,000.00 in compensatory damages; (vi) judgment is entered in favor of the

Plaintiffs against Sunrise Tire for $10,000,000.00 in punitive damages; and (vii) final judgment is

entered.




                                                   -2-
       Case 1:19-cv-00994-JB-JHR Document 148 Filed 07/15/21 Page 3 of 4




                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE

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                                              -3-
      Case 1:19-cv-00994-JB-JHR Document 148 Filed 07/15/21 Page 4 of 4




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                                            -4-
